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From: Marilyn Mosby

Sent: Wednesday, July 15, 2020 5:49 PM

To: Zy Richardson

Ce: Jeneffer Haslam;Michael Collins
Subject: Re: Questions from Brew to Ms. Mosby

I changed it to reflect the responses from Zy and added the part Jenn referenced. Tell me your thoughts before
we send.

We strongly believe that our city needs to reform its criminal justice system. Every time the State's Attorney
has traveled, it has been to deepen her knowledge of alternative approaches to criminal justice. She traveled to
Portugal and Germany, with a large group of fellow reform-minded prosecutors, and then testified before the
state legislature on the need for safe consumption spaces. Our office now does not prosecute drug possession,
partly because of what the State’s Attorney saw in Portugal. She has never sought to hide her travel or the
lessons learned from it, publishing this information in our office’s annual report, and has been fully transparent
with her ethics obligations. The vast majority of trips came at no expense to taxpayers. In fact, in the course of 3
years, the only cost to tax payers has been approximately $5300.

1) Why have you been out of town so much in 2019? What have you gained as Baltimore’s prosecutor
from the conferences and site visits - such as in Germany and the trip to Kenya?

The State’s Attorney has gained first-hand knowledge of alternative approaches to criminal justice. In Germany,
she visited prisons and learned about the conditions of confinement where they treat people more humanely
than we do here in the United States. In Portugal, she learned of the benefits of drug decriminalization and safe
consumption spaces in effect. Since coming back, we have not only implemented our own policies in Baltimore
in those areas but that trip inspired the State’s Attorney to arrange for a tour of the State's prison facilities for
her Executive team to see first hand the practices and structural issues facing our prisons and their staff. Such
a view has allowed the office to begin exploring ways to help reform the criminal justice system in collaboration
with other agencies and to continue to increase our combined efforts to ensure the health and well-being of
those confined. This was illustrated when the State’s Attorney became the first elected official to call on the
Governor to establish a decarceral comprehensive plan for those confined in jails and in prisons during this
global pandemic.

2) What do say to those you think the trips take you away from the “crime crisis” in Baltimore?

These trips have inspired the State’s Attommey to implement new policies here in the city aimed at reducing mass
incarceration and improving public safety. Public officials should always take opportunities to leam about how
other cities and countries handle these issues. When she wasn’t working remotely from those locations, her
Deputies, who collectively have hundreds of years of legal experience stepped in to ensure proper supervision
over the 217 prosecutors in my office.

3) what was/is the purpose of setting up Mahogany Elite Enterprises LLC?

The idea was to set up a travel company to help underserved black families who don’t usually have the
opportunity to travel outside of urban cities, so they can vacation at various destinations throughout the world at
discount prices. This is a long-term venture, hence the reason why there are no clients and she has not received
a single cent in revenue. There are no plans to operate the company while she is State’s Attorney.

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4) What “traveling hospitality services” and “consulting and legal services” are they providing?

None.

5) who are the clients? (Yourself? Others?)

None.

6) Have these entities received any revenues or reimbursements? If so, from what sources?

No.

7) Regarding the gifts you reported, how are they disposed? Do you keep them, donate them?

The majority of the gifts the State’s Attomey has received and reported are donated to the BCSAO
auction during our Winter Solstice celebration, where we raise money for victims of crime.

8) Do you plan to continue traveling to the same extent, post-Covid?

If the State’s Attorney believes the travel represents an opportunity to learn something that will improve
the lives of people in this city at little or no cost to them, then she will.

Sent from my iPhone

On Jul 15, 2020, at 5:32 PM, Zy Richardson <zrichardson(aistattorney.org> wrote:
Are the responses final? Their asking me for them.

Sent from my iPhone

On Jul 15, 2020, at 5:03 PM, Jeneffer Haslam <jhaslam(@istattomey.org> wrote:

| would add to number 1 about how - this trip inspired you to arrange for a tour,
for yourself and the executive team, of the State's prisons including Baltimore
City, to see first hand the practices and structural issues facing our prisons and
their staff. Such a view has allowed the office to begin exploring ways to help
reform the criminal justice system in collaboration with other agencies and to
continue to increase our combined efforts.

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From: Marilyn Mosby <MMosby@stattorney.org>
Sent: Wednesday, July 15, 2020 4:54:15 PM
To: Michael Collins <MCollins@stattorney.org>

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